  8:06-cr-00133-JFB-FG3         Doc # 42   Filed: 09/05/06   Page 1 of 1 - Page ID # 66




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )           8:06CR133
                       Plaintiff,                )
                                                 )
       vs.                                       )             ORDER
                                                 )
JOHN DAVIDSON,                                   )
                                                 )
                       Defendant.                )


       This matter is before the court on the government's motion to continue trial (Filing
No. 41). The government's counsel represents that an essential witness will be unavailable
for trial on the scheduled trial of September 11, 2006. Upon consideration, the motion will
be granted.


       IT IS ORDERED:
       1.     The government's motion to continue trial (Filing No. 41) is granted.
       2.     Trial of this matter is re-scheduled for October 2, 2006, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
September 11, 2006 and September 18, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that an
essential witness will be unavailable for trial. See 18 U.S.C. § 3161(h)(3)(A). Moreover,
the failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 5th day of September, 2006.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
